     Case 1:07-cr-00151-PB   Document 24   Filed 10/29/07   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                      Case No. 07-cr-151-PB

Yajaira Rosario



                               O R D E R

     The defendant, through counsel, has moved to continue the

November 6, 2007 trial in the above case to allow the defendant

additional time to hire local counsel.       Attorney Cicilline shall

notify the court on or before November 9, 2007 as to whether he

intends to withdraw.

     For the above reasons and to allow the parties additional

time to properly prepare for trial, the court will continue the

trial from November 6, 2007 to December 4, 2007.            In agreeing to

continue the trial, the court finds pursuant to 18 U.S.C.A. §

3161(h)(8)(A) that for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best

interests of the public and the defendant in a speedy trial
      Case 1:07-cr-00151-PB   Document 24   Filed 10/29/07   Page 2 of 2




      The October 29, 2007 final pretrial conference is continued

to November 26, 2007 at 3:15 p.m.

      SO ORDERED.




                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

October 29, 2007

cc:   John Cicilline, Esq.
      Michael Ramsdell, Esq.
      Terry Ollila, AUSA
      United States Probation
      United States Marshal




                                     2
